                   UNITED STATES BANKRUPTCY COURT
            EASTERN DISTRICT OF MICHIGAN - NORTHERN DIVISION

In the Matter of:                                          Case No.: 24-20046
Brent A Imker & Mara J Imker,                              Chapter 13 Proceeding
                                Debtor(s)./                Honorable Daniel S. Opperman

   CERTIFICATE OF COMPLIANCE OF SUBMISSION OF EMPLOYEE INCOME
                            RECORDS

STATE OF MICHIGAN            )
                             )SS.
COUNTY OF BAY                )


I, Valerie Groulx, hereby certify that on January 19, 2024, I served through Bankruptcy
Documents the Debtor(s) income records upon:

       Thomas W. McDonald, Jr.
       3144 Davenport Ave.
       Saginaw, MI 48602

Dated: January 19, 2024                                    /s/ Valerie Groulx
                                                           Valerie Groulx, an employee of
                                                           KIMBERLY KRAMER, P.L.C.
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